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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re:                                        ) Case No. 18-05656
                                              ) Honorable Judge Deborah L. Thorne
Willie Ray Vaughn,                            ) Chapter 13
                                              )
                          Debtor.             )

                                    NOTICE OF DEFAULT

TO:      Debtor:
                Willie Ray Vaughn
                12422 S. Aberdeen St.
                Calumet Park, IL 60827

         Counsel for Debtor:
               Mohammed O Badwan
               Sulaiman Law Group, LTD
               2500 S. Highland Ave., Suite 200
               Lombard, IL 60148

VIA E-MAIL AND CERTIFIED U.S. MAIL

Re: Notice of Default for Willie Ray Vaughn; Case No: 18-05656

Our office represents U.S. Bank Trust National Association, not in its individual capacity but
solely as owner trustee for RCF 2 Acquisition Trust c/o U.S. Bank Trust National Association
(“Secured Creditor”), the servicer of a mortgage on your property located at 12422 South
Aberdeen Street, Calumet Park, Illinois 60827. This as a Notice of Default under the terms of the
Agreed Order, entered on February 22, 2022, Docket Entry #51, in Settlement of Motion to
Modify Stay filed by Secured Creditor.

The breakdown of the default is as follows:

  Two (2) Stipulated Order Payment(s) @ $826.04        04/15/2022 – 05/15/2022      $1,652.08
   Two (2) Regular Payment(s) @ $894.00 each            05/1/2022 – 06/1/2022       $1,788.00
                     Suspense                                                       ($67.96)

Total Amount Due to Cure Default:                                       $3,372.12
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The address where payments should be sent is:

Selene Finance LP
3501 Olympus Boulevard
5th Floor, Suite 500
Dallas, Texas 75019

Pursuant to the Agreed Order, if the default is not cured by payment to Secured Creditor within
fourteen (14) days of the date of mailing of this Notice of Default, Secured Creditor shall have
the right to file an order indicating that the automatic stay is terminated.

Please notify the undersigned once the payment has been sent and provide proof of the payment.

                                                    Sincerely,
                                                    Robertson, Anschutz, Schneid, Crane &
                                                    Partners, PLLC
                                                    /s/ Samantha C. San Jose
                                                    Samantha C. San Jose
                                                    IL Bar No: 6319469
                                                    205 N. Michigan Avenue, Suite 810
                                                    Chicago, IL 60601
                                                    Phone: (833) 424-1715
                                                    Email: ssanjose@raslg.com
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                                CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing document was served on the following parties via
electronic means for those available and otherwise by postage prepaid, in the United States Mail,
by first-class mail to the following on June 15, 2022:


Willie Ray Vaughn                                   Debtor
12422 S. Aberdeen St.
Calumet Park, IL 60827

Mohammed O Badwan                                   Attorney for Debtor
Sulaiman Law Group, LTD
2500 S. Highland Ave., Suite 200
Lombard, IL 60148

Marilyn O Marshall                                  Chapter 13 Trustee
224 South Michigan Ste 800
Chicago, IL 60604

Patrick S Layng                                     US Trustee
Office of the U.S. Trustee, Region 11
219 S Dearborn St., Room 873
Chicago, IL 60604
                                                       /s/ Feven Alemu
